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 1   Heedong Chae (SBN 263237)
 2   Email: hdchae@ewpat.com
     Chong Roh (SBN 242437)
 3   Email: croh@ewpat.com
 4   East West Law Group PC
     3600 Wilshire Blvd., Suite 702
 5
     Telephone: (213) 387-3630
 6   Facsimile: (213) 788-3365
 7
     Attorneys for Plaintiff,
 8   Spigen Korea Co., LTD.
 9
                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
     SPIGEN KOREA CO., LTD., a                  Case No.: 8:15-cv-01050 DOC (DFMx)
12
     Republic of Korea corporation,             Assigned to Hon. David O. Carter
13
                    Plaintiff,                  PLAINTIFF SPIGEN KOREA CO.,
14                                              LTD’S OPPOSITION TO
15                      v.                      DEFENDANT VERUS USA, LLC’S
                                                MOTION FOR SANCTIONS;
16                                              MEMORANDUM OF POINTS AND
     ISPEAK CO., LTD., a Republic of
17   Korea corporation; VERUS U.S.A.,           AUTHORITIES
18   LLC, a California limited liability
     company; DOES 1 though 10, inclusive, Hearing:
19                                         Date:           December 7, 2015
20                  Defendants.            Time:           9:30 a.m.
                                           Dept:           9D
21                                         Location:       411 West Fourth Street,
22                                                         Santa Ana, CA 92701
     VERUS U.S.A., LLC, a California
23   limited liability company,
24                                              [The following documents filed
                      Counter-Plaintiff,        concurrently: Declaration of Counsel,
25
                                                Heedong Chae; and Declaration of Dae-
26                     v.                       Young Kim]
27
     SPIGEN KOREA CO., LTD., a
28   Republic of Korea corporation,

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 1                       Counter-Defendant.
 2
 3                                OPPOSITION BRIEF
 4         Plaintiff and Counter-Defendant Spigen Korea Co., LTD (hereinafter,
 5   “Plaintiff” or “Spigen”) respectfully submits the following opposition to Defendant
 6   and Counter-Plaintiff Verus USA, LLC’s (hereinafter, “Defendant” or “Verus”)
 7   Motion for Sanctions under Federal Rules of Civil Procure (“FRCP”) 11.
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 1
 2
                    MEMORANDUM OF POINTS AND AUTHORITIES
 3
     I.       INTRODUCTION
 4
              Plaintiff and Counter-Defendant Spigen Korea Co., LTD’s (hereinafter,
 5
     “Plaintiff” or “Spigen”) filed a complaint for infringement of U.S. Patent No.
 6
     9,049,283 (the “‘283 Patent”) against Defendant and Counter-Plaintiff Verus USA,
 7
     LLC (hereinafter, “Defendant” or “Verus”) and another defendant Ispeak Co., Ltd.
 8
     (Dkt. 1.)
 9
              Defendant filed a motion for sanctions pursuant to FRCP 11 (hereinafter,
10
     “Rule 11 Motion”) against Plaintiff and Plaintiff’s counsel alleging inequitable
11
     conduct with the U.S. Patent and Trademark Office (the “USPTO”) and invalidity
12
     of the ‘283 Patent. Defendant’s Rule 11 Motion lacks merit and is being filed for
13
     the improper purpose to chill litigation and to prevent Plaintiff from enforcing its
14
     patent.
15
              Defendant’s Rule 11 Motion is based on Defendant’s assertion that Plaintiff
16
     or Plaintiff’s counsel committed inequitable conduct. Specifically, Defendant
17
     asserts that Korean Utility Model No. XX-XXXXXXX (“KUM ‘435”) was known to
18
     Plaintiff or Plaintiff’s counsel, that KUM ‘435 is material to the patentability of the
19
     ‘283 Patent, that KUM ‘435 invalidates claims of the ‘283 Patent, and that Plaintiff
20
     or Plaintiff’s counsel did not disclose KUM ‘435 with the USPTO.
21
              However, KUM ‘435 discloses an invention significantly different from that
22
     of the ‘283 Patent and does not invalidate any claim of the ‘283 Patent under 35
23
     U.S.C. § 102 or 103. Declaration of Counsel, ¶6-¶7. Moreover, KUM ‘435 is
24
     cumulative to other cited references already considered by the Examiner who
25
     examined the application for the ‘283 Patent and does not disclose anything new to
26
     consider. Declaration of Counsel, ¶7.
27
              Further, Defendant’s assertion is based on a mistranslation of KUM ‘435.
28
     The correct translation of the KUM ‘435 demonstrates that the KUM ‘435 does not
          PLAINTIFF SPIGEN KOREA CO., LTD’S OPPOSITION TO DEFENDANT VERUS USA, LLC’S
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 1   anticipate any claim of the ‘283 Patent under 35 U.S. C. §102; Declaration of
 2   Counsel, ¶19, Ex. B. Moreover, KUM ‘435 does not teach or disclose elements or
 3   limitations common to all claims of the ‘283 Patent. Declaration of Counsel, ¶18,
 4   ¶19 Ex. B.
 5         In addition, Defendant has not provided any analysis or explanation on how
 6   KUM ‘435 makes the claims of the ‘283 Patent obvious under 35 U.S.C. § 103.
 7   Plaintiff’s counsel’s analysis, however, has found that KUM ‘435 does not make
 8   any claim of the ‘283 Patent obvious in view of other known prior art. Declaration
 9   of Counsel, ¶15 Ex. A, ¶16.
10         Spigen and Spigen’s counsel did not intend to deceive the USPTO.
11   Moreover, Defendant fails to demonstrate that an inference for intent to deceive
12   exists. The KUM ‘435 Complaint was filed on March 24, 2015 by the patentee of
13   KUM ‘435. After receiving the KUM ‘435 Complaint, Spigen reviewed and
14   analyzed KUM ‘435 and compared it to its product. Kim Declaration, ¶3. Spigen
15   correctly concluded that the case of KUM ‘435 is significantly different from
16   Spigen’s accused product and Spigen did not infringe any claim of KUM ‘435. Id.
17   Spigen further concluded that the complaint filed in Korea is frivolous, baseless
18   and without any merit. Id. However, the patentee of KUM ‘435 did not dismiss
19   the complaint, and in late May, 2015, Spigen provided KUM ‘435 to Spigen’s
20   counsel for further review. Kim Declaration, ¶4; Declaration of Counsel, ¶4.
21   Spigen’s counsel reviewed and analyzed KUM ‘435 in connection with this case.
22   Declaration of Counsel, ¶5. Then, Spigen’s counsel concluded that KUM ‘435
23   discloses an invention significantly different from that of the ‘283 Patent and that
24   KUM ‘435 is not material to the patentability of the ‘283 Patent. Declaration of
25   Counsel, ¶7, ¶13. Thus, this further demonstrates that KUM ‘435 is cumulative to
26   cited references which were considered by the examiner who examined and
27   allowed the ‘283 Patent.
28

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 1         Defendant fails to demonstrate Plaintiff or Plaintiff’s counsel’s alleged
 2   inequitable conduct. Furthermore, Defendant fails to demonstrate that Plaintiff or
 3   Plaintiff’s counsel intentionally withheld material information from the USPTO.
 4         Additionally, since Plaintiff’s counsel thoroughly analyzed the claims,
 5   potential defenses, and legal reasonability of Plaintiff’s infringement claims prior
 6   to filing this lawsuit, Plaintiff’s Rule 11 Motion fails. Specifically, Plaintiff’s
 7   Counsel independently reviewed and analyzed the claims in the ‘283 Patent and
 8   analyzed specifications, file history, and all prior art references, including KUM
 9   ‘435. Declaration of Counsel, ¶7, ¶8. He obtained samples of Defendants’
10   product, and compared it to claims of the ‘283 Patent to determine that
11   Defendant’s accused product did in fact infringe a number of claims of the ‘283
12   Patent. Declaration of Counsel, ¶8. Based upon the analysis and information, the
13   Court should reasonably conclude that Defendants’ products infringe the ‘283
14   Patent and at the very least reasonably conclude that Plaintiff’s patent infringement
15   claims are legally reasonable and have factual foundation.
16         Therefore, Defendant’s Rule 11 Motion should be denied in its entirety.
17   II.   STATEMENT OF FACTS ON PATENTS
18         A.     ‘283 Patent
19         Plaintiff is the owner of all right, title, and interest in the ‘283 Patent entitled
20   “Case Having a Storage Compartment for Electronic Devices,” duly and properly
21   issued by the U.S. Patent and Trademark Office on June 2, 2015. The ‘283 Patent
22   is for a mobile smartphone case that has a storage compartment to hold personal
23   items such as credit cards, identification cards, and other personal items. The ‘283
24   Patent has a unique structure and claims that make the case much less bulky and
25   thinner than prior mobile smartphone cases with a similar storage compartment.
26   The ‘283 Patent discloses a case comprising a soft protective case for covering a
27   mobile device. A raised wall is formed on the back of the soft protective case to
28   form a credit card storage compartment where the credit cards, identification cards,

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 1   and other personal items would be stored. A removable hard protective frame is
 2   constructed to snuggly fit right over the raised wall. The case of the ‘283 Patent
 3   further comprises a cover that slides forward and backward over the storage
 4   compartment. In addition, the case of the ‘283 Patent comprises a number of
 5   elements or claim limitations to provide secure and compact coupling between the
 6   soft protective case and the removable hard protective frame.
 7         B.     KUM ‘435
 8         KUM ‘435 discloses a case having a card storage to store a credit card. The
 9   case of KUM ‘435 comprises the 1st body and the 2nd body. The 1st body receives a
10   mobile device therein and the 2nd body is fixedly attached to the 1st body. The card
11   storage is formed on the 2nd body, not on the 1st body.
12         C.     Differences between the ‘283 Patent and KUM ‘435
13         KUM ‘435 discloses an invention significantly different from that of the
14   ‘283 Patent. KUM ‘435 does not teach or disclose the raised wall formed on the
15   soft protective case of the ‘283 Patent or the hard protective frame which is
16   constructed to removably mount over the soft protective case. In KUM ‘435, the
17   2nd body is fixedly attached to the 1st body, and thus, it does not teach or disclose
18   the elements or claim limitations on how the removable hard protective frame is
19   securely and compactly coupled to the soft protective case.
20         D.     Defendant's Infringing Product
21         Defendant’s product is a smartphone case with a storage compartment.
22   Defendant's case has a soft protective case covering the mobile device with a
23   raised wall formed on the back of the soft protective case to form a storage
24   compartment. Additionally, a removable hard protective frame with a cover that
25   slides forward and backward is constructed to snuggly fit right over the raised
26   wall on the back of the soft protective case. Defendant’s product also has a
27   number of elements to securely combine the removable hard protective frame to
28   the soft protective case. Thus, Defendant’s accused product infringes a number of

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 1   claims of the ‘283 Patent. During the initial correspondences between Plaintiff’s
 2   counsel and Defense counsel, Defense counsel never argued that there is no
 3   infringement. In addition, Defense counsel never provided any analysis to show
 4   non-infringement of the ‘283 Patent by Defendant.
 5   III.   ARGUMENT
 6          A.    Federal Rules of Civil Procedure 11
 7          FRCP 11 permits sanctions for filings, such as pleadings, motions or other
 8   “paper[s],” where 1) such papers are legally or factually baseless from an objective
 9   perspective; and 2) the asserting party cannot show that it conducted a reasonable
10   and competent inquiry before signing and filing the document. FRCP 11;
11   Christian v. Mattel, 286 F.3d 1118, 1127 (9th Cir. 2002); View Eng’g, Inc. v.
12   Robotic Vision Sys., Inc., 208 F.3d 981, 985-996 (Fed. Cir. 2000). A claim is
13   legally baseless if it is legally unreasonable; while a claim is factually baseless if it
14   lacks factual foundation. Estate of Blue v. County of Los Angeles, 120 F.3d 982,
15   985 (9th Cir. 1997). However, the Supreme Court has cautioned that Rule 11
16   “must be read in light of concerns that it will . . . chill vigorous advocacy.” Cooter
17   &Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990).
18          As a basis of its motion, Defendant alleges inequitable conduct by Plaintiff
19   and its counsel before the USPTO and invalidity of the ‘283 Patent in view of
20   KUM ‘435 alone or in combination with other prior art. Defendant alleges that
21   Plaintiff’s inequitable conduct is a violation of Rule 11.
22          However, KUM ‘435 discloses an invention significantly different from that
23   of the ‘283 Patent and KUM ‘435 does not invalidate any claim of the ‘283 Patent
24   under 35 U.S.C. § 102 or § 103. Defendant’s assertion of materiality of KUM ‘435
25   is based on incorrect analysis, mistranslation, misinterpretation and a misleading
26   interpretation of KUM ‘435.
27          Thus, there was no inequitable conduct before the USPTO and the KUM
28   ‘435 alone or in combination with other prior art does not invalidate the valid ‘283

       PLAINTIFF SPIGEN KOREA CO., LTD’S OPPOSITION TO DEFENDANT VERUS USA, LLC’S
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 1   Patent. In addition, there was no Rule 11 violation by Plaintiff’s counsel because
 2   Plaintiff’s counsel conducted thorough analysis of the ‘283 Patent, Defendant’s
 3   infringing product, relevant facts, claims, potential defenses or counterclaims,
 4   including analysis of KUM ‘435, etc.
 5         B.     Inequitable Conduct
 6         The substantive elements of inequitable conduct are: “(1) an individual
 7   associated with the filing and prosecution of a patent application made an
 8   affirmative misrepresentation of a material fact, failed to disclose material
 9   information, or submitted false material information; and (2) the individual did so
10   with a specific intent to deceive the PTO.” Exergen Corp. v. Wal-Mart Stores,
11   Inc., 575 F.3d 1312, 1327 (Fed. Cir. 2009) (citing Star Scientific, Inc. v. R.J.
12   Reynolds Tobacco Co., 537 F.3d 1357, 1365 (Fed. Cir. 2008)); Therasense, Inc. v.
13   Becton, Dickinson & Co., 649 F.3d 1276 (Fed. Cir. 2011) (en banc).
14         “[T]he materiality required to establish inequitable conduct is but-for-
15   materiality. When an applicant fails to disclose prior art to the PTO, that prior art
16   has but-for-materiality if the PTO would not have allowed a claim had it been
17   aware of the undisclosed prior art.” Therasense at 1291.
18         In addition, in order to establish inequitable conduct, Defendant must prove
19   by clear and convincing evidence that Plaintiff or Plaintiff’s counsel withheld
20   material information with intent to deceive the USPTO.” Taltech Limited v.
21   Esquel Enterprises Limited, 604 F.3d 1324, 1328 (Fed. Cir. 2010).
22                1.     Defendant’s Allegations of Inequitable Conduct and
                         Materiality are Based Upon an Incorrect Translation of
23
                         KUM ‘435
24
25
           Defendant conveniently relies on an incorrect translation that misstates the

26
     claims in KUM ‘435 to support its claims. Declaration of Counsel, ¶ 18.

27
     Defendant alleges that KUM ‘435 discloses the removable hard protective frame

28
     by pointing to the description of “a 1st body has a device receiver…; a 2nd body
     that joins the opposite side of the aforementioned receiver body’s device
      PLAINTIFF SPIGEN KOREA CO., LTD’S OPPOSITION TO DEFENDANT VERUS USA, LLC’S
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 1   receiver. . .” Dkt. 21-8 at 5; See also [0013] of KUM ‘435. However, a correct
 2   translation of the KUM ‘435 demonstrates that it is not material to the ‘283 Patent
 3   and that Plaintiff did not engage in inequitable conduct. Declaration of Counsel,
 4   ¶19, Ex. B. Thus, Defendant’s claims of materiality and inequitable conduct fail.
 5   Declaration of Counsel, ¶18.
 6         In its translation of KUM ‘435, Defendant translated the Korean phrase
 7
     “고정결합” into “joins” in English. However, the correct translation is “is fixedly
 8
     attached to.” Declaration of Counsel, ¶19, Ex. B. Specifically, “결합” in Korean
 9   may be translated into “joins” or “attached to.” As such, Defendant translated the
10
     phrase “결합” into “joins.” However, Defendant conveniently omitted the phrase
11
     “고정” from its translation. Id. The phrase Defendant omitted “고정” means
12   “fixedly” or “inseparably.” This phrase clearly would have demonstrated one of
13   the differences between the KUM ‘435 and the ‘283 Patent. Thus, inclusion of this
14   omitted phrase significantly changes the claims in the KUM ‘435.
15         Additionally, Defendant’s translation of [0026] of KUM ‘435 is also
16   incorrect. Dkt. 21-7 at 6; Declaration of Counsel, ¶19, Ex. B. The correct
17   translation is as follows:
18         Diagram 2 is a disassembled perspective view of the slide cover in the
19         application example of Diagram 1 in a disassembled state. In this
           diagram, the inner structure of the aforementioned slide case (130) of
20         the aforementioned case body (100) can be seen. A camera hole (116)
21         is provided to accommodate the aforementioned camera hole (136) in
           the aforementioned case body (100). The aforementioned case body
22
           (100) can be comprised of two parts made of different materials. In
23         other words, it can be comprised of the 1st body (101) that has a device
           receiver that receives the mobile device in the rear of this diagram and
24
           the 2nd body (102) that faces the aforementioned slide cover (130).
25         These can be molded separately and fixedly attached to each other, or
26         they may be formed as one unit through a method such as an insert
           injection, etc.”
27
28   Thus, based on the correct translation, Defendant’s contention that Plaintiff
     engaged in inequitable conduct fails.
      PLAINTIFF SPIGEN KOREA CO., LTD’S OPPOSITION TO DEFENDANT VERUS USA, LLC’S
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 1                2.    KUM ‘435 is Not Material to the Patentability of Any Claim
 2                      of the ‘283 Patent because KUM ‘435 Discloses Significantly
                        Different Invention and Does Not Teach or Disclose
 3                      Elements Common to All Claims of the ‘283 Patent.
 4
           The ‘283 Patent includes claims 1-22, including independent claims of
 5
     claims 1 and 16. Claims 2-15 depend on claim 1 and claims 16-22 depend on
 6
     claim 16. The ‘283 patent discloses a case for a mobile electronic device
 7
     comprising a soft protective case having a raised wall for a credit card storage
 8
     compartment, a hard protective frame configured to removably mount over the soft
 9
     protective case, and a cover to cover the credit card storage compartment. Claim 1
10
     states the limitations of the raised wall and removable hard protective frame.
11
     Claim 16 states the limitation of the removable hard protective frame and Claim 18
12
     states the limitation of the raised wall. The claims also include a number of
13
     elements or claim limitations to provide secure and compact coupling between the
14
     soft protective case and the removable hard protective frame.
15
           Based upon the proper translations, KUM ‘435 discloses an invention
16
     significantly different from that of the ‘283 Patent. Declaration of Counsel, ¶6.
17
     Specifically, KUM ‘435 discloses a case for a mobile electronic device
18
     comprising a 1st body, a 2nd body having a recess to receive a credit card therein,
19
     and a slide cover to cover the recess. Only for comparing purpose, the 1st body
20
     and 2nd body of KUM ‘435 respectively correspond to the soft protective case and
21
     hard protective frame of the ‘283 Patent. While the card storage compartment is
22
     formed on the hard outer 2nd body in KUM ‘435, it is formed on the interior soft
23
     protective case in the ‘283 Patent. In addition, unlike the ‘283 Patent, the 1st body
24
     is fixedly attached to the 2nd body in KUM ‘435. KUM ‘435 does not teach or
25
     disclose the limitations of the raised wall formed on the soft protective case.
26
     Furthermore, KUM ‘435 does not teach or disclose the elements or claim
27
     limitations to provide secure and compact coupling between the soft protective
28
     case and the removable hard protective frame because the 1st body is fixedly
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 1   attached to the 2nd body in KUM ‘435 and such elements are not required.
 2         Moreover, there are significant differences in the case structures of KUM
 3   ‘435 and the ‘283 Patent. First, in [0026] of KUM ‘435, the patent only discloses
 4   that the 2nd body is fixedly attached to the 1st body and does not disclose they can
 5   be separable. Next, contrary to Defendant’s contentions (see Dkt. 21-8), KUM
 6   ‘435 does not teach or disclose the raised wall formed on the soft protective case.
 7   Instead, in the KUM ‘435, the wall is on the 2nd body and never describes that the
 8   wall can be formed on the 1st body. On the contrary, [0022]~[0026] on page 5 of
 9   the KUM ‘435 describe the case of Diagram 1 or FIG. 1 where the card storage is
10   formed on the 2nd and the 2nd body has side walls. Although, [0027] of KUM ‘435
11   states that the 2nd body may be pierced to expose back of the 1st body so that the
12   exposed portion can be a floor of the card storage, this embodiment of KUM ‘435
13   does not teach or disclose the raised wall formed on the soft protective case or the
14   removable hard protective frame of the ‘283 Patent. Finally, KUM ‘435 does not
15   teach or disclose the elements or claim limitations on how the removable hard
16   protective frame is securely and compactly coupled to the soft protective case.
17         Therefore, KUM ‘435 does not invalidate any claim of the ‘283 Patent under
18   35 U.S.C. § 102 or § 103. KUM ‘435 alone or in combination with other cited
19   references do not teach or disclose the limitations of the raised wall, removable
20   hard protective frame, and other coupling elements.
21                3.    The USPTO Would Have Allowed All Claims of the ‘283
22                      Patent Had It Been Aware of KUM ‘435

23
           Defendant fails to demonstrate that the USPTO would not have issued any
24
     of the claims of the patent had they known of KUM ‘435. Defendant argued that
25
     KUM ‘435 discloses all elements of claims 1, 2, 6, 8, 10, 11, 13, 16, 17 and 18 of
26
     the ‘283 Patent. However, as explained above, KUM ‘435 does not disclose the
27
     limitation of the removable hard protective frame, common to all claims of the
28
     ‘283 Patent, and the raised wall and other coupling elements. Thus, KUM ‘435
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 1   does not anticipate any claim of the ‘283 Patent under 35 U.S.C. § 102.
 2         In addition, Defendant only makes a conclusory argument that had the
 3   USPTO known of the KUM 435, it would not have allowed the claims in the ‘283
 4   Patent due to the obviousness of a combination of KUM ‘435 and one or more
 5   references in the cited prior art or other prior art under 35 U.S.C. § 103. However,
 6   Defendant has not provided any specific reference or detailed explanation on how
 7   the references can make claims of the ‘283 Patent obvious. As explained above,
 8   there is no reference disclosing or teaching the limitation of removable hard
 9   protective frame, which is common to all claims of the ‘283 Patent, and the
10   coupling elements.
11         Therefore, no claim of the ‘283 Patent can be invalidated by KUM ‘435
12   under 35 U.S.C. § 102 or 103.
13                4.      Plaintiff or Plaintiff’s counsel did not Deceive nor Intend to
14                        Deceive the USPTO

15         The evidence Defendant has presented to show intent to deceive was
16   speculative and circumstantial evidence that KUM ‘435 was known to Plaintiff or
17   Plaintiff’s counsel during the prosecution of the application which is issued to the
18   ‘283 Patent. However, Defendant failed to present a clear and convincing
19   evidence to prove Plaintiff or Plaintiff’s counsel’s intent to deceive the USPTO. In
20   fact, Plaintiff and Plaintiff’s counsel did not intent to deceive the USPTO. Plaintiff
21   reviewed KUM ‘435 and determined that KUM ‘435 is significantly different from
22   the invention disclosed by the ‘283 Patent. Declaration of Counsel, ¶7, ¶12-¶13.
23   Plaintiff did not see the need to disclose KUM ‘435 with the USPTO because it
24   believed KUM ‘435 is irrelevant to the ‘283 Patent. Declaration of Kim, ¶3.
25   Plaintiff’s counsel was later notified of KUM ‘435 and reached the same
26   conclusion that KUM ‘435 is not material to the patentability of the ‘283 Patent
27   and cumulative to other cited references. Id.
28         Defendant further argues that the evidence of intent to deceive the USPTO is

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 1   thus very strong because Plaintiff was sued in Korea by the patentee of KUM ‘435
 2   for the infringement of KUM ‘435 by Plaintiff’s case embodying the ‘283 Patent.
 3   However, Plaintiff correctly concluded the lawsuit was frivolous and without any
 4   reasonable basis because KUM ‘435 discloses an invention completely different
 5   from a case embodying the ‘283 Patent and Plaintiff’s accused case does not
 6   infringe any claim of KUM ‘435. Declaration of Counsel, ¶15, Ex. A. Thus,
 7   Plaintiff’s Counsel concluded that KUM ‘435 is cumulative to cited references
 8   which were already considered by the examiner who examined and allowed the
 9   ‘283 Patent.
10         Plaintiff and Plaintiff’s counsel did not intent to deceive the USPTO and
11   Plaintiff’s decision that KUM ‘435 is not material to the patentability of the ‘283
12   Patent is correct or at least reasonable.
13         Therefore, Defendant fails to present a clear and convincing evidence to
14   prove Plaintiff or Plaintiff’s counsel’s intent to deceive the USPTO.
15                  5.   Defendant Fails to Demonstrate by Clear and Convincing
                         Evidence that Plaintiff or Plaintiff’s Counsel Withheld
16
                         Material Information from the USPTO
17
18
           There are heightened standards for the party challenging the patent based

19
     upon inequitable conduct. Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d

20
     1276, 1291 (Fed. Cir 2011). Moreover, Defendant must demonstrate (1) that had

21
     the USPTO been aware of the “withheld or misrepresented information, it would
     not have issued the patent;” and (2) must demonstrate by “clear and convincing
22
     evidence that the applicant knew of the [material evidence], knew that it was
23
     material, and made a deliberate decision to withhold it.” Id. at 1290-1291.
24
           Defendant fails to demonstrate that there was clear and convincing evidence
25
     that Plaintiff or Plaintiff’s counsel made a deliberate decision to withhold material
26
     information. Defendant claims that the “intent to deceive the USPTO is . . . very
27
     strong” due to the infringement of KUM ‘435 by Plaintiff. However, the
28
     infringement decision was erroneous and reversed, and the claim by KUM ‘435
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 1   patentee against Plaintiff was frivolous and groundless. Other than conclusory
 2   statements, Defendant does not provide any evidence that Plaintiff or Plaintiff’s
 3   counsel knew KUM ‘435 was material to the ‘283 Patent. Moreover, Defendant
 4   does not provide any evidence that Plaintiff or Plaintiff’s counsel made a deliberate
 5   decision to withhold material information. Finally, as demonstrated above, KUM
 6   ‘435 is not material to the patentability of the ‘283 Patent.
 7                6.     Defendant Fails to Demonstrate Plaintiff or Plaintiff’s
 8
                         Counsel’s Intent to Deceive the USPTO

 9         Defendant erroneously claims that Therasense standard to determine intent
10   to deceive would be for the Court to “infer intent to deceive from indirect and
11   circumstantial evidence.” Therasense, Inc. 649 F.3d at 1291. Defendant misstates
12   the Therasense standard to create an easier standard to prove intent to deceive.
13   Contrary to Defendant’s characterization of Therasense, the Court stated that “the
14   specific intent to deceive must be ‘the single most reasonable inference able to be
15   drawn from the evidence.’” Id. at 1290 (quoting Star Scientific Inc. v. R.J.
16   Reynolds Tobacco Co., 537 F.3d 1357, 1366 (Fed. Cir. 2008)). Thus, “when there
17   are multiple reasonable inferences that may be drawn, intent to deceive cannot be
18   found.” Id. at 1290-91. However, where there is proof of “affirmative egregious
19   misconduct” such as a “‘deliberately planned and carefully executed scheme[ ]’ to
20   defraud the [USPTO],” it is not necessary to prove that the information at issue
21   was “but-for” material. Id. at 1292 (quoting Hazel-Atlas Glass Co. v. Hartford-
22   Empire Co., 322 U.S. 238, 245 (1944)).
23         Here, based upon the facts and evidence provided by Defendant, there is no
24   inference of an intent to deceive. The only facts that Defendant presents is that “a
25   third party in Korea sued Plaintiff for infringement of KUM ‘435, that Plaintiff
26   failed to disclose KUM ‘435 to the USPTO, and that Plaintiff threatened Defendant
27   with a lawsuit for infringement and sent Amazon.com a cease and desist letter.
28   Based upon the facts presented by Defendant, the Court cannot infer that there was
     an intent to deceive. Moreover, that Plaintiff or Plaintiff’s counsel intended to
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 1   deceive the USPTO is not the single most reasonable inference made from the
 2   facts provided. Instead, there are numerous other inferences that the Court can
 3   make from the facts alleged by Defendant. Thus, Defendant in its Rule 11 Motion
 4   fails to demonstrate an intent by Plaintiff or Plaintiff’s counsel to deceive the
 5   USPTO.
 6                7.     Defendant’s Fails to Allege with the Requisite Specificity
 7
                         Required for Inequitable Conduct Claims

 8         "[I]nequitable conduct, while a broader concept than fraud, must be pled
 9   with particularity" under [FRCP] 9(b). Exergen Corp. v. Wal-Mart Stores, Inc.,
10   575 F.3d 1312, 1326, citing Ferguson Beauregard/Logic Controls, Div. of Dover
11   Resources, Inc. v. Mega Sys., LLC,350 F.3d 1327, 1344 (Fed.Cir.2003). A
12   pleading that simply avers the substantive elements of inequitable conduct, without
13   setting forth the particularized factual bases for the allegation, does not satisfy Rule
14   9(b). Exergen Corp., 575 F.3d at 1326 (See King Auto., Inc. v. Speedy Muffler
15   King, Inc., 667 F.2d 1008, 1010 (CCPA 1981) ["FRCP 9(b) requires that the
16   pleadings contain explicit rather than implied expression of the circumstances
17   constituting fraud."]).
18         Here, Defendant fails to allege with particularity the circumstances
19   constituting the inequitable conduct under FRCP 9(b). Specifically, Defendant
20   fails to allege with particularity, that the omitted KUM ‘435 was material to the
21   claims in the ‘283 Patent. Defendant’s argument is based on mistranslation of
22   KUM ‘435. Further, Defendant fails to state with particularity how KUM ‘435
23   anticipates the claims in the ‘283 Patent or how KUM ‘435 makes the claims of the
24   ‘283 Patent obvious in view of other reference.
25         Additionally, Defendant fails to plead with the requisite particularity the
26   circumstances of Plaintiff or Plaintiff’s counsel’s alleged intent to deceive.
27   Defendant attempts to infer such alleged intent to deceive based upon indirect and
28   circumstantial evidence. Defendant must state with particularity the reasons
     behind the intent to deceive and state with particularity the “deliberate decision to
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 1   withhold a known material reference’ or to make a knowingly false
 2   misrepresentation.” Exergen Corp. v. Walmart Stores, 575 F.3d at 1326. Thus,
 3   since Defendant’s Rule 11 Motion is based upon inequitable conduct, Defendants’
 4   claim fails.
 5
 6
                    8.    At This Point in the Proceedings, The Court Cannot
                          Determine if there was Inequitable Conduct
 7
 8         Because there are so many factual and evidentiary issues to consider in
 9   inequitable conduct claims, inequitable conduct is a question for the jury to
10   determine. In order “[t]o establish inequitable conduct, the accused infringer must
11   prove by clear and convincing evidence that the patentee withheld material
12   information with intent to deceive the USPTO.” Taltech Limited v. Esquel
13   Enterprises Limited, 604 F.3d 1324, 1328 (Fed. Cir. 2010). Thus, any Inequitable
14   Conduct allegations should be pled by Defendant (and was pled by Defendant) in
15   the Counterclaims.
16         The Parties have not formally begun discovery and Defendant failed to
17   demonstrate Plaintiff engaged in inequitable conduct. Therefore, Defendant’s
18   motion for sanctions, which is mainly based on inequitable conduct, should be
19   denied.
20         C.       Validity
21         A patent shall be presumed valid. 35 U.S.C § 282. Each claim of a patent
22   (whether in independent, dependent, or multiple dependent form) shall be
23   presumed valid independently of the validity of other claims and the burden of
24   establishing invalidity of a patent or any claim thereof shall rest on the party
25   asserting such invalidity. Id. In addition, the presumption of patent validity under
26   35 U.S.C. § 282 must be overcome by clear and convincing evidence. Microsoft
27   Corp. v. i4i Ltd. Partnership, 131 S. Ct. 2238 (2011).
28         As explained above, KUM ‘435 does not anticipate any claim of the ‘283

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 1   Patent under 35 U.S.C. § 102, not make any claim of the ‘283 Patent obvious under
 2   35 U.S.C. § 103. In addition, Defendant failed to prove its invalidity claim by clear
 3   and convincing evidence.
 4           D.    No Rule 11 Violation by Plaintiff’s Counsel
 5           When looking into the validity of the patent infringement claims, an attorney
 6   must not rely solely on the client’s claim interpretation and must perform an
 7   independent analysis to assert a nonfrivolous claim construction. Antonius v.
 8   Spalding & Evenflo Companies, Inc., 275 F.3d 1066, 1072 (Fed. Cir. 2002) (citing
 9   View Eng’g,208 F.3d at 986). Courts have found investigations unreasonable
10   when there were: (l) no attempt to obtain a sample of the infringing device and
11   compare it to claims; (Judin v. United States, 110 F.3d 780, 784 (Fed. Cir. 1997))
12   (2) no independent infringement analysis by counsel; (View Eng'g, Inc. 208 F.3d at
13   985 (Fed. Cir. 2000)) and (3) no reverse engineering or attempt to acquire technical
14   specifications from the alleged infringer. (Judin. 110 F.3d at 785.) Conversely,
15   Courts have ruled that the claims in the Complaint were valid based upon an
16   attorney's declaration that he interpreted and analyzed the patent claims,
17   specification, and file history to reach a reasonable, non-frivolous infringement
18   analysis. Q-Pharma, Inc. v. Andrew Jergens Co., 360 F.3d 1295, 1301 (Fed. Cir.
19   2004.
20           Here, prior to filing the lawsuit, Plaintiff's Counsel, who already had
21   extensive knowledge of the ‘283 Patent, extensively analyzed the ‘283 patents, its
22   claims and its prosecution history along with cited references. Declaration of
23   Counsel, ¶2, ¶8. He reviewed the patents and all of its claims, purchased numerous
24   samples of Defendant’s product and compared the products to the claims of the
25   ‘283 Patent. Declaration of Counsel, ¶5-¶6. Plaintiff’s Counsel analyzed
26   Defendant's product and determined that it infringes a number of claims in the ‘283
27   Patent. Declaration of Counsel, ¶8-¶12. Based upon his investigation and
28   analysis, Plaintiff’s Counsel could reasonably conclude that Defendant’s product

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 1   infringes the ‘283 Patent.
 2            Additionally, before filing the complaint of this case, Plaintiff’s counsel was
 3   notified of KUM ‘435 and reviewed and analyzed it along with other known prior
 4   art references. Declaration of Counsel, ¶4-¶7. Based on the analysis, Plaintiff’s
 5   counsel concluded that KUM ‘435 is significantly different from the ‘283 Patent
 6   and is not material to the patentability of the ‘283 Patent. Declaration of Counsel,
 7   ¶6. In addition, Plaintiff’s counsel concluded that Plaintiff’s accused product
 8   embodying the ‘283 Patent does not infringe KUM ‘435. Id. Therefore, during the
 9   prosecution of the ‘283 Patent, Plaintiff’s counsel found no need to cancel
10   registration of the ‘283 Patent and submit KUM ‘435 for further examination.
11            Plaintiff’s counsel further investigated, reviewed and analyzed other facts of
12   the case, claims, potential counterclaims or defenses, etc. Based on his reasonable
13   inquiry, investigation, and analysis, Plaintiff's counsel determined that (1)
14   Defendant's product was infringing the ‘283 Patent and (2) Spigen's 283 Patent is
15   valid and enforceable. Thus, since Plaintiff’s counsel conducted reasonable and
16   competent inquiry before filing the lawsuit and because the lawsuit has merit from
17   an objective perspective, Defendant’s Rule 11 Motion against Plaintiff’s counsel
18   fails.
19            E.    The Court Should Award Plaintiff its Fees in Opposing this
20                  Motion

21            Rule 11 allows a court, “[i]f warranted, . . . [to] award to the party
22   prevailing on the motion [for sanctions] the reasonable expenses and attorney’s
23   fees incurred in presenting or opposing the motion.” FRCP Rule 11(c)(1)(A).
24   [T]he filing of a motion for sanctions is itself subject to the requirements of [Rule
25   11] and can lead to sanctions.” FRCP Rule 11 (Advisory Committee’s Notes
26   (1993 amendments). “A party defending a Rule 11 motion need not comply with
27   the separate document and safe harbor provision when counter-requesting
28   sanctions.” Safe-Strap Co., Inc. v. Koala Corp., 270 F.Supp.2d 407,421 (2003).

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 1         Sanctions are warranted in this case. First, Defendant’s allegations are based
 2   upon materiality and inequitable conduct. Defendant’s allegations are based upon
 3   an improperly translated KUM ‘435. Moreover, Defendant fails to allege that (1)
 4   it did not infringe on the ‘283 Patent, or that (2) Plaintiff’s counsel failed to
 5   investigate all facts, law, and legal conclusions before filing the lawsuit.
 6   IV.   CONCLUSION
 7         For the foregoing reasons, Plaintiff Spigen Korea Co. LTD requests
 8   that Defendant’s Motion for Sanctions Pursuant to Federal Rules of Civil
 9   Procedure 11 be denied in its entirety. And Plaintiff Spigen Korea Co. LTD
10   should be awarded its attorney’s fees in opposing the Motion.
11
12   Dated: November 16, 2015                 EAST WEST LAW GROUP
13
14
15                                            By: __/s/ heedong chae____________
                                                    Heedong Chae, Esq.
16                                                  Chong Roh, Esq.
17                                                  Attorneys for Plaintiff,
                                                    SPIGEN KOREA CO., LTD.
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